Case 5:25-cv-01445 Documenti-1 Filed 06/10/25 Pagelof7 Page ID#:22

Exhibit A
Case 5:25-cv-01445 Documenti-1 Filed 06/10/25 Page2of7 Page ID#:23

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Guited States Patent and Trademark Office lla

CODICIADO

Reg. No. 7,383,957 Aragon Alcantar, Erick De Jesus (MEXICO INDIVIDUAL)
Resi Mav 14. 2024 15117 Golden Star Ave

egistered May 14, 20 Riverside, CALIFORNIA 92506
Int. Cl.: 9, 41

CLASS 9: Downloadable musical sound recordings; Musical recordings; Musical video

Service Mark recordings; Series of musical sound recordings

FIRST USE 2-11-2013; INCOMMERCE 2-11-2013
Trademark

CLASS 41: Songwriting; Entertainment services by a musical artist and producer,
namely, musical composition for others and production of musical sound recordings;
Music production services; Production of musical sound recording; Production of sound
and music video recordings; Entertainment in the nature of live performances by a
musician

Principal Register

FIRST USE 2-11-2013; INCOMMERCE 2-11-2013

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
ANY PARTICULAR FONT STYLE, SIZE OR COLOR

OWNER OF USS. REG. NO. 5924994, 6099877
The English translation of "CODICIADO" in the mark is "COVETED".

SER. NO. 97-532,613, FILED 08-03-2022

Koarnoine ally Vidal

Director of the United States
Patent and Trademark Office

Case 5:25-cv-01445 Documenti-1 Filed 06/10/25 Page3of7 Page ID#:24

REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

« First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
registration will continue in force for the remainder of the ten-year period, calculated from the registration
date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

* Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

* You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the date of the
international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the international
registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at
http://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.

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Document 1-1 Filed 06/10/25 Page4of7 Page ID#:25

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Gnited States Patent and Trademark Office lta

Grupo Codiciado

Reg. No. 5,924,994
Registered Dec. 03, 2019
Int. Cl.: 9, 41

Service Mark
Trademark

Principal Register

A, Hick bit
Director of the United States
Patent and Trademark Office

Aragon Alcantar, Erick De Jesus (MEXICO INDIVIDUAL)
15117 Golden Star Ave
Riverside, CALIFORNIA 92506

CLASS 9: Musical recordings; Musical video recordings; Downloadable musical sound
recordings; Series of musical sound recordings

FIRST USE 2-11-2013; IN COMMERCE 2-11-2013

CLASS 41: Entertainment, namely, live performances by a musical band; Music production
services; Production of musical sound recording; Production of sound and music video
recordings; Songwriting; Entertainment services by a musical artist and producer, namely,
musical composition for others and production of musical sound recordings

FIRST USE 2-11-2013; INCOMMERCE 2-11-2013

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
PARTICULAR FONT STYLE, SIZE OR COLOR

No claim is made to the exclusive right to use the following apart from the mark as shown:
"GRUPO"

The English translation of "GRUPO CODICIADO" in the mark is "COVETED GROUP".

SER. NO. 88-377,742, FILED 04-09-2019
Case 5:25-cv-01445 Documenti-1 Filed 06/10/25 Page5of7 Page ID#:26

REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

e First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
registration will continue in force for the remainder of the ten-year period, calculated from the registration

date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

e Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

e You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
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deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www. wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.

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Document 1-1 Filed 06/10/25 Page6éof7 Page ID#:27

States of Amer;

Gnited States Patent and Trademark Office lly

Reg. No. 6,099,877
Registered Jul. 14, 2020
Int. Cl.: 9, 41

Service Mark
Trademark

Principal Register

Peer: fashion

Director of the United States
Patent and Trademark Office

Aragon Alcantar, Erick De Jesus (MEXICO INDIVIDUAL)
15117 Golden Star Ave
Riverside, CALIFORNIA 92506

CLASS 9: Musical recordings; Musical video recordings; Downloadable musical sound
recordings; Series of musical sound recordings

FIRST USE 2-11-2013; INCOMMERCE 2-11-2013

CLASS 41: Entertainment, namely, live performances by a musical band; Music production
services; Production of musical sound recording; Production of sound and music video
recordings

FIRST USE 2-11-2013; INCOMMERCE 2-11-2013

The mark consists of the word "GRUPO" with a star on each side and the word
"CODICIADO" underneath and underlined. Both words are inside a rectangle.

No claim is made to the exclusive right to use the following apart from the mark as shown:
"GRUPO"

The English translation of "GRUPO CODICIADO" in the mark is "Coveted Group".

SER. NO. 88-699,125, FILED 11-19-2019

Case 5:25-cv-01445 Documenti-1 Filed 06/10/25 Page7of7 Page ID #:28

REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS,

Requirements in the First Ten Years*
What and When to File:

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registration will continue in force for the remainder of the ten-year period, calculated from the registration
date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

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for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.

Requirements in Successive Ten-Year Periods*
What and When to File:

e You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
between every 9th and 10th-year period, calculated from the registration date.*

Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
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Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.

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